     Case 4:19-cv-01145 Document 53 Filed on 07/07/20 in TXSD Page 1 of 16
                                                                   United States District Court
                                                                     Southern District of Texas

                                                                        ENTERED
                                                                        July 07, 2020
                   IN THE UNITED STATES DISTRICT COURT               David J. Bradley, Clerk
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION


SUNOCO PARTNERS MARKETING       &       §
TERMINALS L.P.,                         §
                                        §
                   Plaintiff,           §
                                        §      CIVIL ACTION NO. H-19-1145
V.                                      §
                                        §
U.S. VENTURE, INC.,                     §
                                        §
                   Defendant.           §


                       MEMORANDUM OPINION AND ORDER


      This is a patent infringement action filed by Sunoco Partners

Marketing    &   Terminals L.P. ("Sunoco") against U.S. Venture, Inc.
("U.S. Venture") involving United States Patent No. 9,207,686 ("the
'686 Patent") .1 Sunoco and U.S. Venture disagree about the meaning
of terms used in the '686 Patent and ask the court to construe the
disputed terms.       See Markman v. Westview Instruments. Inc., 116
S. Ct. 1348,        1387   (1996)   ("[T]he   construction    of a patent,
including terms of art within its claim, is exclusively within the
province of the court.").
      In support of its preferred constructions Sunoco filed Sunoco
Partners Marketing     &   Terminals L.P.'s Opening Claim Construction



      Complaint for Patent Infringement, Docket Entry No. 1, p. 1.
      1

All page numbers for docket entries in the record refer to the
pagination inserted at the top of the page by the court's
electronic filing system, CM/ECF.
   Case 4:19-cv-01145 Document 53 Filed on 07/07/20 in TXSD Page 2 of 16




Brief ("Sunoco's Opening Brief") (Docket Entry No. 40), in response
to which U.S. Venture filed U.S. Venture's                  Responsive      Claim
Construction          Brief   ("U.S. Venture's    Response")    (Docket     Entry
No. 41), to which Sunoco replied in Sunoco Partners Marketing &

Terminals L.P.'s Reply Claim Construction Brief ("Sunoco's Reply")
(Docket Entry No. 42).          The parties have also filed their P.R. 4-3
Joint Claim Construction and Prehearing Statement                (Docket Entry
No. 37).     A Markman Hearing was held on June 24, 2020.2
     The parties dispute the proper construction of the following
claim terms:          (1) "said agent vapor pressure," (2) "calculating,"
and (3) the phrase "calculating a blend ratio based upon a blended
petroleum vapor pressure, said agent vapor pressure, said flow rate
and said allowable vapor pressure."              After carefully considering
the parties' arguments, the evidence, and the applicable law, the

court will construe the disputed terms as stated below.

                 I.     Legal Standard for Claim Construction

     In Markman, 116 S. Ct. at 1387, the United States Supreme
Court held that the construction of patent claims is a matter of
law exclusively for the court.                Accordingly, when the parties
dispute the meaning of particular claim terms, the court should
consider the parties' proposed definitions, but must independently
assess     the   claims,      the   specification,   and   if   necessary    the

     2
         Hearing Minutes and Order, Docket Entry No. 50.
                                        -2-
   Case 4:19-cv-01145 Document 53 Filed on 07/07/20 in TXSD Page 3 of 16




prosecution history and relevant extrinsic evidence, and declare

the meaning of the disputed terms. Exxon Chemical Patents, Inc. v.

Lubrizol Corp., 64 F.3d 1553, 1556 (Fed. Cir. 1995), cert. denied,

116 S. Ct. 2554 (1996).

     Courts begin claim construction inquiries by ascertaining the

"ordinary and customary meaning" of disputed claim terms.           Phillips

v. AWH   Corporation,    415 F.3d 1303,      1312-13    (Fed.    Cir. 2005)

(en bane), cert. denied, 126     s.   Ct. 1332 (2006) (quoting Vitronics

Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir. 1996)).

"[T] he ordinary and customary meaning of a claim term is the

meaning that the term would have to a person of ordinary skill in

the art in question at the time of the invention, i.e., as of the

effective filing date of the patent application."               Id. at 1313.

"[T]he person of ordinary skill in the art is deemed to read the

claim term not only in the context of the particular claim in which

the disputed term appears, but in the context of the entire patent,

including the specification."         Id.

     In some cases, the ordinary meaning of claim language as
     understood by a person of skill in the art may be readily
     apparent even to lay judges, and claim construction in
     such cases involves little more than the application of
     the widely accepted meaning of commonly understood
     words.          In such circumstances, general purpose
     dictionaries may be helpful. In many cases that give
     rise to litigation, however, determining the ordinary and
     customary meaning of the claim requires examination of
     terms that have a particular meaning in a field of art.
     Because the meaning of a claim term as understood by
     persons of skill in the art is often not immediately
     apparent, and because patentees frequently use terms

                                      -3-
   Case 4:19-cv-01145 Document 53 Filed on 07/07/20 in TXSD Page 4 of 16



     idiosyncratically, the court looks to "those sources
     available to the public that show what a person of skill
     in the art would have understood disputed claim language
     to mean." . . . Those sources include "the words of the
     claims themselves, the remainder of the specification,
     the prosecution history,       and extrinsic evidence
     concerning relevant scientific principles, the meaning of
     technical terms, and the state of the art."
Id. at 1314 (citations omitted).

     Two exceptions exist to the general rule that terms carry

their ordinary and customary meaning.           First, a term may not carry
its ordinary and customary meaning "if the patentee acted as his
own lexicographer and clearly set forth a definition of the
disputed claim term in either the specification or prosecution
history."      CCS Fitness, Inc. v. Brunswick Corp., 288 F.3d 1359,
1366 (Fed. Cir. 2002); see also Hormone Research Foundation, Inc.
v. Genentech, Inc., 904 F.2d 1558, 1563 (Fed. Cir. 1990), cert.

denied, 111 S. Ct. 1434 (1991) ("It is a well-established axiom in
patent   law    that   a    patentee   is    free   to   be   his   or   her   own
lexicographer .        . and thus may use terms in a manner contrary to
or inconsistent with one or more of their ordinary meanings.").
Second, a claim term may also be interpreted more narrowly than it
otherwise would if "the patentee distinguished that term from prior
art on the basis of a particular embodiment, expressly disclaimed
subject matter, or described a particular embodiment as important
to the invention."         CCS Fitness, 288 F.3d at 1366-67.
     "[A] patentee need not describe in the specification every
conceivable and possible future embodiment of his invention." Id.

                                       -4-
     Case 4:19-cv-01145 Document 53 Filed on 07/07/20 in TXSD Page 5 of 16




at 1366 (internal quotation marks and citation omitted).              Nor will
the court "add a narrowing modifier before an otherwise general
term that stands unmodified in a claim."           Renishaw PLC v. Marposs
Societa' per Azioni, 158 F.3d 1243, 1249 (Fed. Cir. 1998).               "If an
apparatus claim recites a general structure without limiting that

structure to a specific subset of structures,              [the court]       will
generally construe the term to cover all known types of that
structure that the patent disclosure supports."             CCS Fitness, 288
F.3d at 1366 (internal quotation marks and citation omitted).
      There are two types of evidence that courts rely on in
conducting claim construction inquiries:            (1) intrinsic evidence
(e.g., the language of the claim itself, the patent specification,

and the prosecution history of the patent) and                 (2) extrinsic
evidence (evidence external to the patent and prosecution history
like dictionaries, treatises, and expert and inventor testimony)
Phillips, 415 F.3d at 1317 (citing Vitronics, 90 F.3d at 1583)
The court is       not    required to    address   these    sources   in any
particular order;        "what matters is for the court to attach the
appropriate weight to be assigned to those sources in light of the
statutes and policies that inform patent law."             Id. at 1324.

A.    Intrinsic Evidence

      The language of the claim itself is "'of primary importance,
in the effort to ascertain precisely what it is that is patented.'"


                                     -5-
   Case 4:19-cv-01145 Document 53 Filed on 07/07/20 in TXSD Page 6 of 16




Phillips, 415 F.3d at 1312 (quoting Merrill v. Yeomans, 94 U.S.

568, 570 (1876)).    This is "[b)ecause the patentee is required to
'define precisely what his invention is.'"         Id. (quoting White v.

Dunbar, 7   S.   Ct. 72, 75 (1886)).      Courts, therefore, carefully
consider the context within which a particular term is used in an
asserted claim, as well as how the term is used in other claims
within the same patent.        Id. at 1314.      As a general rule, an
ordinary English word "whose meaning is clear and unquestionable"
needs no further construction.        See Chef America, Inc. v. Lamb-
Weston, Inc., 358 F.3d 1371, 1373 (Fed. Cir. 2004).
     While the claim language itself should be the court's primary

focus, other intrinsic sources can be helpful.           For example, the

specification "is always highly relevant to the claim construction
analysis" and can be either dispositive or "the single best guide
to the meaning of a disputed term."         Phillips, 415 F.3d at 1315
(quoting Vitronics, 90 F.3d at 1582) (internal quotations omitted);
see also CVI/Beta Ventures, Inc. v. Tura LP, 112 F.3d 1146, 1153
(Fed. Cir. 1997) (" [T]he patent drawings are highly relevant in
construing the .     . limitations of the claims.").        While "[i]t is
therefore entirely appropriate for a court, when conducting claim
construction, to rely heavily on the [specification] for guidance
as to the meaning of the claims," Phillips, 415 F.3d at 1317, it is
important that the specification be used only to interpret the
meaning of a claim, not to confine patent claims to the embodiments

                                   -6-
     Case 4:19-cv-01145 Document 53 Filed on 07/07/20 in TXSD Page 7 of 16




described therein. See Dow Chemical Co. v. United States, 226 F.3d

1334, 1342 (Fed. Cir. 2000)          ("[A]s a general rule claims of a
patent are not limited to the preferred embodiment             . . or to the
examples listed within the patent specification.")
      The patent's prosecution history should also be considered

when offered for purposes of claim construction.               Phillips, 415
F.3d at 1317.      The prosecution history "consists of the complete
record of the proceedings before the PTO and includes the prior art
cited during the examination of the patent."           Id. "[T]he prosecu­
tion history can often inform the meaning of the claim language by
demonstrating how the inventor understood the invention and whether
the inventor limited the invention in the course of prosecution,
making the claim scope narrower than it would otherwise be."                 Id.

However, because "the prosecution history represents an ongoing
negotiation between the PTO and the applicant, . . . it often lacks
the clarity of the specification and thus is less useful for claim
construction purposes."       Id.


B.    Extrinsic Evidence

       If intrinsic evidence does not resolve the ambiguity in a
particular claim term, the court may look to extrinsic evidence to
help it reach a conclusion as to the term's meaning. See Phillips,
415 F.3d at 1317; Vitronics, 90 F.3d at 1583.            The court may look
to dictionaries "if the court deems it helpful in determining 'the


                                     -7-
   Case 4:19-cv-01145 Document 53 Filed on 07/07/20 in TXSD Page 8 of 16



true meaning of language used in the patent claims.'"             Phillips,
415 F.3d at 1318 (quoting Markman, 52 F.3d at 980).           However, the
court must be mindful that extrinsic evidence may only supplement
or clarify -- not displace or contradict -- the intrinsic evidence.

See id. at 1319 ("[E]xtrinsic evidence may be useful to the court,

but it is unlikely to result in a reliable interpretation of patent
claim scope unless considered in the context of the intrinsic
evidence.").      "[HJ eavy reliance on the dictionary divorced from the
intrinsic evidence risks transforming the meaning of the claim term
to the artisan into the meaning of the term in the abstract, out of
its particular context, which is the specification."          Id. at 1321.


                   II.   Construction of Disputed Terms

     The '686 Patent describes a system and method for blending
butane and similar agents into gasoline streams. 3        Relevant to this
dispute, the '686 Patent claims priority to and incorporates by
reference U.S. Patent No. 6,679,302         ("the '302 Patent").4          The
parties dispute the construction of terms in Claim 16 of the '686
Patent, which claims in relevant part:
     16.     A method for in-line blending of petroleum and a
             volatility modifying agent comprising:
             a)   providing a petroleum stream that comprises a
                  petroleum vapor pressure and a flow rate;


     3
      '686 Patent, Exhibit 1 to U.S. Venture's Technical Tutorial,
Docket Entry No. 38-1, p. 2.
     4
         Id. at 9 col. 1 lns. 7-18.
                                    -8-
   Case 4:19-cv-01145 Document 53 Filed on 07/07/20 in TXSD Page 9 of 16




           b)     providing an agent stream that comprises an
                  agent vapor pressure;
           c)     providing an allowable vapor pressure;        [and]

           d)     calculating a blend ratio based upon a blended
                  petroleum vapor pressure, said agent vapor
                  pressure, said flow rate and said allowable
                  vapor pressure[.] 5

     The parties dispute the construction of the terms "said agent
vapor pressure" and "calculating."             Neither party argues that
either    "said   agent   vapor    pressure"    or    "calculating"     has   a
particular meaning in the relevant field of art.              Sunoco argues
that "said agent vapor pressure" and "calculating" are terms that
should be given their plain and ordinary meaning and require no
further    construction.          U.S.   Venture     argues   that    further
construction of these terms is required to assist the jury in
evaluating the scope of the technology claimed in the '686 Patent.
     The parties also dispute the construction of the entire phrase
"calculating a blend ratio based upon a blended petroleum vapor
pressure, said agent vapor pressure, said flow rate and said
allowable vapor pressure," but agreed during the Markman Hearing
that construction of that phrase hinges on the court's construction
of the terms "said agent vapor pressure" and "calculating."



     5
      Disputed Terms, Exhibit A to P.R. 4-5 Joint Claim
Construction Chart, Docket Entry No. 46-1, p. 2; '686 Patent,
Exhibit 1 to U.S. Venture' s Technical Tutorial, Docket Entry
No. 38-1, p. 17 col. 18 lns. 21-30.
                                     -9-
     Case 4:19-cv-01145 Document 53 Filed on 07/07/20 in TXSD Page 10 of 16



A.     Construction of "Said Agent Vapor Pressure"

      Disputed Term                Sunoco's               U.S. Venture's
                                 Construction              Construction
 "said agent vapor         Plain and ordinary         "The actual vapor
 pressure"                 meaning                    pressure of the
                                                      agent that is
                                                      blended with the
                                                      petroleum"

       The invention claimed in Claim 16 is "[a] method for in-line
blending of petroleum and a volatility modifying agent"                   that
comprises "providing an agent stream that comprises an agent vapor
pressure" and "calculating a blend ratio based upon                       said
agent vapor pressure" and other variables. 6            U.S. Venture argues
that its construction is necessary because the claim must be
construed to mean that the method requires that the user obtain
"said agent vapor pressure" by measuring the agent stream,                    as
opposed to using a hypothetical or assumed value. 7            Sunoco argues
that the plain and ordinary meaning does not require further
construction. 8      Neither Sunoco nor U.S. Venture argues that "said
agent vapor pressure" has a special meaning different from its
plain and ordinary meaning to persons of ordinary skill in the art.
       The court is persuaded by Sunoco's argument that nothing in
the language of Claim 16, the '686 Patent as a whole, or the '302
Patent requires that the said agent vapor pressure referenced in


       6
           Id.
       7
           U.S. Venture's Response, Docket Entry No. 41, p. 7.
       8
           Sunoco's Opening Brief, Docket Entry No. 40, p. 6.
                                     -10-
   Case 4:19-cv-01145 Document 53 Filed on 07/07/20 in TXSD Page 11 of 16



Claim 16 be actually measured from the agent stream.           The language

and construction of Claim 16 suggests that the "said agent vapor
pressure" is simply a variable to be used to calculate the blend
ratio. 9     The term "said agent vapor pressure" identifies that
variable, but does not specify how the user of the method should
determine its value.      The word "said" refers back to the earlier
use of "agent vapor pressure," where the claim states that the
method comprises "b) providing an agent stream that comprises an
agent vapor pressure." 1° This earlier instance only states that the
agent stream comprises an agent vapor pressure; it does not specify
that the user of the method should measure the stream to learn the

actual value of the vapor pressure.              Accordingly, the plain
language of the claim does not support U.S. Venture's argument that
"said agent vapor pressure" necessarily excludes circumstances
where the user of the method knows or assumes the agent vapor
pressure instead of measuring it.
     A comparison with Claim 1 in the '686 Patent also shows that
the drafters did not intend to require measurement in Claim 16.
See Phillips, 415 F.3d at 1314 ("Differences among claims can also
be a useful guide in understanding the meaning of particular claim
terms.") .      Claim 1 states that one using the method should
"calculat[e] a blend ratio" using the gasoline vapor pressure after


     9
      '686 Patent, Exhibit 1 to U.S. Venture's Technical Tutorial,
Docket Entry No. 38-1, p. 17 col. 2 lns. 28-30 (listing the "said
agent vapor pressure" as one of the things the calculation of the
blend ratio must be "based upon")
     10
          Id. col. 2 lns. 25-26.
                                   -11-
   Case 4:19-cv-01145 Document 53 Filed on 07/07/20 in TXSD Page 12 of 16


"periodically determining said gasoline vapor pressure."11 Claim 1

specifically requires a user to determine the vapor pressure and

Claim 16 does not -- showing that Claim 16 does not include such a
limitation. U.S. Venture argues that this portion of Claim 1 only
specifies that the determination must be periodic,                while in
Claim 16 the implied determination may occur only once.                 This
argument is not persuasive because it does not explain why the
drafters omitted the entire step of "determining said
pressure" instead of simply omitting the term "periodically" if
they intended that step to be an included limitation in Claim 16.
     U.S. Venture also argues that the '302 Patent is intrinsic

evidence that supports its construction.          U.S. Venture cites the
'302 Patent's description of preferred embodiments, which states
that "[t]o calculate the blend ratio one must first have knowledge
of the respective vapor pressures                  [they are] preferably

measured directly." 12      But this language suggests that direct
measurement, while preferred, is not the only way to gain knowledge
of the vapor pressures in order to calculate blend ratios.              That
direct measurement is described as the preferred embodiment in the




     11   Id. at 16 col. 16 lns. 5- 9.
      see '302 Patent, Exhibit 2 to U.S. Venture's Technical
     12

Tutorial, Docket Entry No. 38-2, p. 11 col. 7 lns. 15-16 and 24-25
(emphasis added) .   The '302 patent refers here specifically to
butane, which is a typical "agent" referred to in Claim 16 of the
'686 Patent. '686 Patent, Exhibit 1 to U.S. Venture's Technical
Tutorial, Docket Entry No. 38-1, p. 9 col. 1 lns. 51-53
("[G]asoline marketers blend agents such as butane with gasoline to
increase the Reid vapor pressure and volatility of the gasoline.") .
                                   -12-
      Case 4:19-cv-01145 Document 53 Filed on 07/07/20 in TXSD Page 13 of 16



'302 Patent does not imply a limitation in Claim 16 that direct
measurement is necessary.
        Because U.S. Venture' s proposed construction asks the court to
import limitations onto a term that is not ambiguous and for which
there is no evidence that it should be limited beyond its plain and
ordinary meaning, the court concludes the term should be construed
only as having its plain and ordinary meaning.


B.      Construction of "Calculating"

       Disputed Term                Sunoco's                    U.S. Venture's
                                  Construction                   Construction
 "calculating"              Plain and ordinary            "Determining using
                            meaning                       a mathematical
                                                          process"

        "Calculating" is an ordinary English word without a particular
meaning to persons having ordinary skill in the art. Sunoco argues
that the court need not construe this term.                 U.S. Venture argues
that the intrinsic evidence and plain language of the term requires
the     court   to   construe     the   term     to    specifically      require   "a
mathematical process."
        U.S.    Venture   cites    a    number    of    cases    where    courts   in
construing other patents have defined calculating as requiring a
mathematical process.        But "[a] particular term used in one patent
need not have the same meaning when used in an entirely separate
patent, particularly one involving different technology."                   Medrad,
Inc. v. MRI Devices Corp., 401 F.3d 1313, 1318 (Fed. Cir. 2005).

                                        -13-
   Case 4:19-cv-01145 Document 53 Filed on 07/07/20 in TXSD Page 14 of 16



      U.S.     Venture     argues        that   its     proposed   construction     is
supported by dictionary definitions of the verb                       "calculate."13
Those dictionary definitions include                    "determine by mechanical

process" as the first definition for the verb. 14                    If calculating
something necessarily means "determining by mathematical process"
as defined by common dictionaries, then no further construction of

"calculating" is required to assist the trier of fact.                     Moreover,
the   dictionaries         do      not    strictly       support   U.S.    Venture's
construction because they also provide additional definitions for
the   term     such   as     "to    determine      by    reasoning   or    practical

experience."15        U.S.      Venture's       argument    that   the    court   must
specifically construe "calculating" in order to distinguish it from
the term "determining" is likewise not persuasive because U.S.
Venture does not explain why the trier of fact cannot intuit the



      13   U.S. Venture's Response, Docket Entry No. 41.
      See Webster's American Dictionary College Edition, Exhibit 1
      14

to Sunoco's Opening Brief, Docket Entry No. 40-2, p. 4 (giving the
first definition of "calculate" as "to determine or ascertain by
mathematical methods; compute); Merriam Webster's Collegiate
Dictionary 10th ed., Exhibit 2 to Sunoco's Opening Brief, Docket
Entry No. 40-3, p. 4 (giving the first definition of calculate as
"to determine by mathematical process").
      Webster's American Dictionary College Edition, Exhibit 1 to
      15

Sunoco's Opening Brief, Docket Entry No. 40-2, p. 4 (providing
additional definitions "to determine by reasoning or practical
experience" and "to make suitable or fit for a purpose"); Merriam
Webster's Collegiate Dictionary 10th ed., Exhibit 2 to Sunoco's
Opening Brief, Docket Entry No. 40-3, p. 4 (providing additional
definitions "to reckon by exercise of practical judgment" and "to
solve or probe the meaning of").
                                           -14-
     Case 4:19-cv-01145 Document 53 Filed on 07/07/20 in TXSD Page 15 of 16



difference between those terms based on their plain and ordinary

meanings.       The court is persuaded that further construction of the
term "calculating" is not required.


C.     Construction of the Combined Phrase

      Disputed Term                  Sunoco's                U.S. Venture's
                                   Construction               Construction
calculating a blend            Plain and ordinary         "Determining a blend
ratio based upon a             meaning                    ratio using a
blended petroleum                                         mathematical process
vapor pressure,                                           that uses at least
said agent vapor                                          the following four
pressure, said flow                                       values in the
rate and said                                             mathematical
                                                          formula: (1) the
allowable vapor
                                                          blended petroleum
pressure                                                  vapor pressure,
                                                          (2) the agent vapor
                                                          pressure, (3) the
                                                          petroleum flow rate,
                                                          and (4) the allow­
                                                          able vapor pressure"

       U.S. Venture argues that the court should construe the entire
phrase "calculating a blend ratio based upon a blended petroleum
vapor pressure, said agent vapor pressure, said flow rate and said
allowable vapor pressure" to make clear to the trier of fact that
the claim requires a mathematical formula that uses the blended
petroleum vapor pressure,          agent vapor pressure,        flow rate, and
allowable vapor pressure to determine the blend ratio. 16                    U.S.
Venture's proposed construction,               however,   is premised on the
assumption        that   the    court   will     construe    "calculating"     to

       16
            U.S. Venture's Response, Docket Entry No. 41, pp. 14-15.
                                        -15-
   Case 4:19-cv-01145 Document 53 Filed on 07/07/20 in TXSD Page 16 of 16



specifically require a mathematical process.               At the Markman

Hearing, the parties agreed that the court's construction of the

phrase would be controlled by the construction of the terms "said
agent vapor pressure" and "calculating."           Because the court has
concluded that "calculating" should not be construed beyond its

plain and ordinary meaning, the court concludes that additional
construction of the phrase is likewise not warranted.


                               III.   Order

     For the reasons stated above, the court adopts the following
constructions for the disputed terms of Claim 16 of the '686 Patent:


          Disputed Term                           Construction
 "said agent vapor pressure"           plain and ordinary meaning
 "calculating"                         plain and ordinary meaning
"calculating a blend ratio             plain and ordinary meaning
based upon a blended petroleum
vapor pressure, said agent
vapor pressure, said flow rate
and said allowable vapor
pressure"


     SIGNED at Houston, Texas, on this the 7th day of July, 2020.




                                                SIM LAKE
                                   SENIOR UNITED STATES DISTRICT JUDGE



                                   -16-
